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     K.H., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of S.T., and Concerning R.G.T., III. Minor Child No. 24SC725Supreme Court of Colorado, En BancDecember 16, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA730
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    